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AO 91 (Rev I J/1 J) Cnmmal Complaint


                                    UNITED STATES DISTRICT COURT
                                                              for the
                                               Eastern District of Pennsylvania

                 United States of America                        )
                               V.                                )
                                                                 )       Case No.
        John Doe, a/k/a Darnel Torres-Santiago
                                                                 )                  18- { 4[    i   -I"\   [UNDER SEAL]
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following ts true to the best of my knowledge and belief.
On or about the date(s) of               October 21. 2015            _   in the county of .     _ _Montgo~ery             in the
      Eastern         District of        P~nn~ylvarna        , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S C. §§ 922(a)(6) & 924(a){2)           false statements m connection with the acqurs1t1on of a firearm

18 U S.C § 1028A                             aggravated identity theft




         This criminal complaint is based on these facts:
See attached Affidavit




          iilf Continued on the attached sheet.

                                                                            _d_R~A4/          Complainant's signature

                                                                                      Lisa M Reinhold, Special Agent
                                                                                        - -                         - -
                                                                                               Printed name and tztle

Sworn to before me and signed in my presence.


Date:             09/06/2018


City and state:                 Philadelphia, Pennsylvania                    Hon. Thomas J. Rueter.US. Magistrate Judge
                                                                            - - . - -         -
                                                                                               Printed name and title
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                       IN THE t;NITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                                          AFFIDAVIT

               I, Lisa M. Reinhold, depose and swear as follows:

                                     Background of Affiant

               1.      I am a Special Agent with Homeland Security Investigations ("HSI"),

Department of Homeland Security ("DHS"). HSI is the primary investigative arm of OHS.

During the past seventeen years I have been employed by HSI and have conducted numerous

investigations of violations of U.S. customs law and U.S. immigration law. I am currently

assigned to the ID Benefit Fraud unit of the HSI Office of the Special Agent in Charge in

Philadelphia, Pennsylvania.

               2.      I am currently an investigative or law enforcement officer of the United

States within the meaning of 18 U.S.C. § 2510(7) and am empowered by law to conduct

investigations and to make arrests for offenses enumerated in 18 U.S.C. § 2516.

               3.      I have participated in numerous arrests and search and seizure warrants for

violations of state and federal laws. I have interviewed numerous offenders. I have testified in

federal courts concerning identity theft, immigration fraud, and firearms offenses. As a result of

my training, education, experience, and discussions with more experienced law enforcement

personnel, I am familiar with the manner in which offenders, including illegal aliens, steal

identity documents from u.S. citizens and subsequently present those documents as their own.

These offenders are often able to acquire a driver's license with the stolen documents and

completely assume the identity of the U.S. citizen.
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                                            Purpose of the Affidavit

                     4.       As explained in detail below, I have probable cause to believe that JOHN

     DOE ("DOE"), an unknown subject using the name "Daniel Torres-Santiago," committed,

     within the Eastern District of Pennsylvania, violations of 18 U.S.C. §§ 922(a)(6) and 924(a)(2)

     and 18 U.S.C. § 1028A. Evidence described below has shown that DOE assumed the identity of

     Daniel Torres-Santiago, a U.S. citizen residing in the Commonwealth of Puerto Rico, and

     subsequently used a fraudulent Social Security card and a fraudulent Puerto Rican birth

     certificate to obtain, from the Pennsylvania Department of Transportation, a Pennsylvania

     driver's license, in the name of "Daniel Torres-Santiago." Thereafter, DOE, on or about

     October 21, 2015, used that Pennsylvania driver's license in connection with the acquisition ofa

     firearm from a licensed firearms dealer in West Sorriton Township, Montgomery County,

     Pennsylvania.

                     5.       I submit this Affidavit in support of a criminal complaint and arrest

     warrant for DOE for: (a) false statements in connection with the acquisition of a firearm, in

     violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2); and (b) aggravated identity theft, in violation

     of 18 U .S.C. § 1028A.

                     6.       For the reasons set forth herein, there is probable cause to believe that on

     or about October 21, 2015, DOE, in the Eastern District of Pennsylvania and elsewhere:

                              a.     in connection with the acquisition of a firearm, that is, a Taurus 9
                                     mm pistol, Model No. PT 709, Serial No. TIS73658, from Treeline
                                     Sports Inc., a licensed dealer of firearms, knowingly made a false
                                     and fictitious written statement, in that DOE provided a written
                                     statement on Firearm Transaction Record, Part 1-0ver-the-
                                     Counter, ATF Form 4473, certifying that his name was Daniel
                                     Torres-Santiago and that his Social Security r-.;umber was the
                                     Social Security Number assigned to Mr. Torres-Santiago, knowing
                                     those statements were false and fictitious, and furnished and
                                     exhibited a false, fictitious, and misrepresented identification,


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                              which were intended and likely to deceive that dealer with respect
                              to a fact material to the lawfulness of the sale of the firearm under
                              the provisions of Chapter 44, Title 18, United States Code, in
                              violation of 18 C.S.C. §§ 922(a)(6) and 924(a)(2); and

                      b.      knowingly and without lawful authority used a means of
                              identification of another person, that is, the name and Social
                              Security Number of Daniel Torres-Santiago, during and in relation
                              to the making of false statements in connection with the acquisition
                              of a firearm, in violation of 18 U.S.C. § I 028A.

               7.     The information contained in this Affidavit is based upon, among other

things: my personal knowledge, my general experience in identity theft, immigration, and

firearms investigations, information provided to me by other law enforcement officers,

information provided by the victim of the aggravated identity theft and by the licensed firearms
                                           ,

dealer, and my review of documents.

               8.     This Affidavit is being executed as part of an ongoing investigation and is

based on my current understanding of the relevant facts based on the above. As the investigation

proceeds, new facts may come to light that qualify or contradict prior facts. Because this

Affidavit is being submitted for the limited purpose of establishing probable cause for the

criminal complaint and arrest warrant, Your Affiant has not included each and every fact known

concerning this investigation. Rather, the facts set forth herem constitute a summary of the

investigation and the known facts. Further, Your Affiant has only set forth the facts that Your

Affiant believes are necessary to establish that there is probable cause to believe that DOE has

violated: (a) 18 C.S.C. §§ 922(a)(6) and 924(a)(2)~ and (b) 18 L'.S.C. § 1028A.

                                        Applicable Laws

               9.     Title 18, United States Code, Section 922(a)(6) makes it unlawful:

               for any person in connection with the acquisition or attempted
               acquisition of any firearm or ammunition from a licensed importer,
               licensed manufacturer, licensed dealer, or licensed collector,


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               knowingly to make any false or fictitious oral or written statement
               or to furnish or exhibit any false, fictitious, or misrepresented
               identification, intended or likely to deceive such importer,
               manufacturer, dealer, or collector with respect to any fact material
               to the lawfulness of the sale or other disposition of such firearm or
               ammunition under the provisions of this chapter[.]

               10.     Title 18, United States Code, Section 1028A(a)( 1) states: "Whoever,

during and in relation to any felony violation enumerated in subsection (c), knowingly transfers,

possesses, or uses, without lawful authority, a means of identification of another person shall, in

addition to the punishment provided for such felony, be sentenced to a term of imprisonment of 2

years." Title 18, Cnited States Code, Section 1028A(c)(3) states that, "[fJor purposes of this

section, the term 'felony violation enumerated in subsection (c)' means any offense that is a

felony violation of. .. [ 18 U.S.C.] section 922(a)(6) (relating to false statements in connection

with the acquisition of a firearm)." A knowing violation of 18 C.S.C. § 922(a)(6) is punishable

by a fine, imprisonment of not more than ten years, or both, 18 U.S.C. § 924(a)(2), and, thu~,

such a violation is a felony, 18 U.S.C. § 3559(a)(3) (classifying an offense with a maximum term

of imprisonment of less than twenty-five years but ten or more years as a "Class C felony'').

                                  Summary of the Investigation

               11.     HSI and the Office of Inspector General of the Social Security

Administration have been investigating the use of certain identifying information and certain

purported identification documents by DOE, an unknown Hispanic White male, who is

approximately"forty-five years of age and approximately five feet and six inches in height and

has brown eyes. DOE is believed to reside at, or to have resided at, 82 East Township Line Road

in Exton, Uwchlan Township, Chester County, Pennsylvania. DOE is depicted in a

Pennsylvania Department of Transportation photo identification card or driver's license issued in

the name of"Daniel Torres-Santiago," bearing driver license number 29 279 121, and listing "82_


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E TOWNSHIP LINE RD, EXTO:'.'J, PA 19341" as the "driver address," based on recent

Pennsylvania Department of Transportation records.

                 12.      Records from the Pennsylvania Department of Transportation indicate that

the Department issued a Pennsylvania driver's license on or about March 28, 2007, to a "Daniel

Torres-Santiago," bearing driver license number 29 279 121. In connection with the application

for this Pennsylvania driver's license, DOE, on or about March 28, 2007, appears to have

presented what are believed to be a fraudulent Puerto Rican certificate of birth (in the name of

"Daniel Torres Santiago," with certificate number l 52-1971-03341-000000-124076 04017483)

and a fraudulent Social Security card (in the name of "Daniel Torres Santiago," with the Social

Security Number assigned to Mr. Torres-Santiago by the Social Security Administration). 1

Based on records from the Pennsylvania Department of Transportation, this driver's license (or

photo identification associated with the aforementioned driver license number) was renewed,

issued, or re-issued on or about September 7, 2007, April 24, 2008, October 31, 2011, July 18,

2012, September 2, 2015, and August 16, 2017. 2

                 13.      Based on information set forth below, it is believed that, on or about

October 21, 2015, DOE purchased a firearm- specifically, a Taurus 9 mm pistol, :'.\1:odel No. PT

709, Serial :'.'Jo. TIS73658 -from Treeline Sports Inc., a licensed dealer of firearms located at

1447 West Main Street, in West :'.'Jorriton Township, Montgomery County, Pennsylvania. In

connection with this purchase, based on information set forth below it is believed that DOE




; Because the Government obtamed from the Pennsylvania Department ofTransportat10n only copies of the birth
certificate and Social Secunty card (because the Department only had copies of those documents), 1t is unclear
whether the documents were fake documents or stolen "leg1t1mate" documents. In any event, it appears that DOE
used the documentation ma fraudulent manner.
2
  Based on records from the Pennsylvania Department of Transportation, the operatmg privileges of DOE, a/k/a
"Darnel Torres-Santiago," were suspended several ttmes, for, among other thtngs, drivmg under the influence of
alcohol or a controlled substance. Thts likely may explain why, at varying times, DOE held a non-dnver photo
1dentificat10n card, as opposed to a dnver's license.

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presented to Jessica Zachau, the owner of Treeline Sports Inc., a completed and signed Bureau of

Alcohol, Tobacco, Firearms and Explosives ("ATF") Form 4473 (Firearms Transaction Record,

Part I-Over-the-Counter). On the ATF Form 4473, the transferee's (i.e., the firearm purchaser's)

full name is listed as Daniel Torres-Santiago, with a place of birth of "Puerto Rico," :'v1r. Torres-

Santiago's date of birth, and the Social Security Number assigned to Mr. Torres-Santiago. 3 This

ATF Form 44 73 was signed and dated "10/21/2015." The transferor or seller is listed as Jessica

Zachau of''Treeline Sports Inc., 1447 West Main Street, Norristown PA. 19403," with a "Date

Transferred" of"l0/21/15." On that section of the ATF Form 4473 listing the form of

identification presented in connection with the sale, "Pennsylvania Drivers [sic] license," with

number "29 279 121" and an expiration date of August 22, 2019, are indicated (August 22, 2019,

is the current expiration date of the driver's license).

                 14.      On June 14, 2018, I interviewed Jessica Zachau and presented her with a

copy of the completed and signed ATF Form 4473. Among other things, Ms. Zachau told me

that, based on her and Treeline Sports Inc. 's practice, the sale would only be to the exact person

depicted on the driver's license provided for the sale. Further, Ms. Zachau confirmed that the

signature set forth at question 34 of.the ATF Form 4473 ("Transferor's/Seller 7s Signature") was

hers.

                 15.      On June 7, 2018, HSI Special Agents interviewed a Daniel Torres-

Santiago (i.e., the person believed to be the actual Daniel Torres-Santiago and not DOE) at his

place of residence in Puerto Rico. ;'vlr. Torres-Santiago provided several documents to verify his

identity, namely a valid Puerto Rico driver's license, a Social Security card (with the Socia!

Security :'Jumber used by DOE), and a Puerto Rico birth certificate (with the same certificate


3
  Your Affiant knows the Social Secunty Number and date ofbrrth of the actual Darnel Torres-Santiago but 1s not
includmg them here out of concern for his privacy.

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number used to obtain the Pennsylvania driver's license in the name of "Daniel Torres

Santiago"). Among other things, :\1r. Torres-Santiago told the agents that he has resided at his

Puerto Rican address for well over fifteen years and has never traveled outside of Puerto Rico.

               16.     On August I, 2018, agents from the Pennsylvania Attorney General's

Office ("AGO") conferred with me, and, among other things, I provided them with copies of

Pennsylvania Department of Transportation records (which included photographs of DOE) and

copies of a photograph of the actual Daniel Torres-Santiago, who resides in Puerto Rico. Then,

on August I, 2018, the AGO agents proceeded to 1047 Cherry Street, in Norristown,

Montgomery County, Pennsylvania, where they met a woman who identified herself as Yadira

Rodriguez-Franco. Ms. Rodriguez-Franco told the AGO agents that she was separated from

Daniel Torres-Santiago (i.e., DOE), that he is the father of her children, that he was (at the time

of the interview and for the prior three months) in Mexico because his mother had died, that she

expected him to retum,on August 30, 2018, and that she was present when he purchased the

Taurus 9 mm pistol, Model :S-o. PT 709, Serial No. TIS73658, from Treeline Sports Inc. on

October 21, 2015.

               17.     Then, on August 1, 2018, after interviewing Ms. Rodriguez-Franco, the

AGO agents proceeded to 82 East Township Line Road in Exton, Uwchlan Township, Chester

County, Pennsylvania, where they approached DOE. They recognized DOE as the person

depicted in the photograph on the driver's license assigned to Daniel Torres Santiago. DOE told

the AGO agents that he purchased the Taurus 9 mm pistol, ::\1odel No. PT 709, Serial No.

TIS73658, from Treeline Sports Inc. on October 21, 2015. When presented with a copy of the

ATF Form 4473, he stated that he completed Section A of the form (which requests, among other

things, the transferee's name, date of birth, and Social Security Number) and that the signature at



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question 16 ("Transferee's/Buyer's Signature") was his. DOE also told the AGO agents that he

still had the Taurus 9 mm pistol, Model ~o. PT 709, Serial No. TIS73658, and -pursuant to

DOE's consent (including as reflected on a "Consent Search" form that DOE executed}-

voluntarily turned that firearm over to the AGO agents.

                18.    Thus, the investigation to date reveals that DOE assumed the identity of

Daniel Torres-Santiago, a U.S. citizen residing in Puerto Rico, used that stolen identity, along

with fraudulent identification documents, to obtain a Pennsylvania driver's license, and then used

the stolen identity and the fraudulently obtained driver's license to purchase a firearm from a

licensed firearms dealer, in the course of which purchase he knowingly made false and fictitious

written statements (i.e., about his identity), and furnished the false, fictitious, and misrepresented

driver's license, such false and fictitious written statements and false, fictitious, and

misrepresented driver's license being material to the lawfulness of the firearm sale.

                               Conclusion and Request for Sealing

                19.    Based on the foregoing, there is probable cause to believe that DOE

engaged in (a) false statements in connection with the acquisition of a firearm, in violation of 18

U.S.C. §§ 922(a)(6) and 924(a)(2); and (b) aggravated identity theft, in violation of 18 C.S.C.

§ 1028A.

               20.     Because this is an application that pertains to an ongoing criminal

investigation and because disclosure of the information contained herein as well as disclosure of

the warrant being requested herein may compromise the investigation by informing the target of

the investigation of the nature and techniques of the investigation, and affording the target of the

investigation an opportunity to flee or to destroy or to tamper with evidence or witnesses, I




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request that the arrest warrant, criminal complaint, application, and this Affidavit be ordered

sealed by the Court, and be unsealed upon the arrest of DOE or further order of the Court.


                                               _<?( I!~/}_,IL_
                                              LISA M. REI~HOLD, SPECIAL AGENT
                                                                                            -
                                              HOMELAND SECURITY I~VESTIGA TIOKS


Sworn t~d s~bsJribe? before me
this_ ?:z_dayo~~2018.




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